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              IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE DISTRICT OF SOUTH CAROLINA
                         GREENWOOD DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
Plaintiff,                                )      Case No: 8:19-CR-00181
                                          )
vs.                                       )
                                          )
Detric Lee McGowan,                       )
                                          )
Defendant.                          )
____________________________________)



                              NOTICE OF APPEARANCE


        YOU WILL PLEASE TAKE NOTICE that the undersigned hereby states that he has been

retained as counsel of record by and for the Defendant, Detric Lee McGowan. The undersigned

hereby makes a general appearance on behalf of Detric Lee McGowan.



                                          Respectfully submitted,

                                          /s/ Trey Gowdy
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July 10, 2019
Greenville, South Carolina
